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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


ABC Corporation                                       )
                                                      )        Case No. 20-cv-6173
v.                                                    )
                                                      )        Judge: Hon.
THE PARTNERSHIPS and                                  )
UNINCORPORATED ASSOCIATIONS                           )        Magistrate: Hon.
Hon. IDENTIFIED ON SCHEDULE “A”                       )
                                                      )


                                                 COMPLAINT

         Plaintiff ABC Corporation (“Plaintiff”) hereby brings the present action against the

Partnerships and Unincorporated Associations identified on Schedule A attached hereto

(collectively, “Defendants”) and alleges as follows1:

                                                   The Parties

         1. ABC Corporation is an internationally recognized manufacturer of high-quality

consumer goods, marketed under federally protected, registered U.S. Trademarks.

         2. Defendants identified on Schedule “A” are all believed to be individuals and

unincorporated business associations who, upon information and belief, reside in foreign

jurisdictions. The true names, identities and addresses of Defendants are currently unknown.

         3. Defendants conduct their illegal operations through fully interactive commercial

websites hosted on various e-commerce sites, such as Amazon, eBay, Wish, Tophatter, DHGate,

Alibaba, Ali Express, etc. (“Infringing Websites” or “Infringing Webstores”). Each Defendant

targets consumers in the United States, including the State of Illinois, and has offered to sell and,

on information and belief, has sold and continues to sell counterfeit products that violate


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 Since it is unknown when Plaintiff’s forthcoming Motion for a Temporary Restraining Order will be ruled on,
Plaintiff’s name has been removed to prevent Defendants from getting advanced notice. Plaintiff is listed on the
trademark certificates filed under seal as Exhibit 1 and Plaintiff will file an Amended Complaint under seal that
identifies Plaintiff and provides additional allegations.
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Plaintiff’s intellectual property rights (“Counterfeit Products”) to consumers within the United

States, including the State of Illinois and Northern District of Illinois. Defendants have the

capacity to be sued pursuant to Federal Rule of Civil Procedure 17(b).

       4. Through their operation of the Infringing Webstores, Defendants are directly and

personally contributing to, inducing and engaging in the sale of Counterfeit Products as alleged,

often times as partners, co-conspirators and/or suppliers. Upon information and belief,

Defendants are an interrelated group of counterfeiters working in active concert to knowingly

and willfully manufacture, import, distribute, offer for sale, and sell Counterfeit Products.

Defendants intentionally conceal their identities and the full scope of their counterfeiting

operations in an effort to deter Plaintiff from learning Defendants’ true identities and the exact

interworking of Defendants’ illegal counterfeiting operations. The identities of these Defendants

are presently unknown. If their identities become known, Plaintiff will promptly amend this

Complaint to identify them.

                                      Jurisdiction and Venue

       5. This is an action for trademark counterfeiting and trademark infringement, and unfair

competition and false designation of origin arising under the Trademark Act of 1946, 15 U.S.C.

§§ 1051, et seq., as amended by the Trademark Counterfeiting Act of 1984, Public Law 98-473

(October 12, 1984), the Anti-Counterfeiting Consumer Protection Act of 1996, Pub. L. 104-153

(July 2, 1996), and the Prioritizing Resources and Organization for Intellectual Property Act of

2007, H.R. 4279 (October 13, 2008) (the "Lanham Act"), and for unlawful and deceptive acts

and practices under the laws of the State of Illinois.

       6. This Court has original jurisdiction over this action pursuant to 28 U.S.C. §§ 1331,

1332 and 1338(a) and (b); and 15 U.S.C. §§ 1116 and 1121. This Court has jurisdiction, pursuant




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to the principles of supplemental jurisdiction and 28 U.S.C. § 1367, over Plaintiffs’ claims for

unlawful and deceptive acts and practices under the laws of the State of Illinois.

        7. This Court has personal jurisdiction over Defendants in that they transact business in

the State of Illinois and in the Northern District of Illinois.

        8. Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 in that the Defendants

are entities or individuals subject to personal jurisdiction in this District. Venue is also proper in

this District because a substantial part of the events or omissions giving rise to the claims

occurred in this District and Defendants directly target business activities towards consumers in

the State of Illinois.

                                          Background Facts

        9. Plaintiff is engaged in the business of manufacturing, distributing and retailing high

quality consumer products, including within the Northern District of Illinois District

(collectively, the “Plaintiff Products”) under the Federally registered trademarks identified in

Exhibit 1. Defendants’ sales of Counterfeit Products in violation of Plaintiff’s intellectual

property rights are irreparably damaging Plaintiff.

        10. Plaintiff is the owner of all rights, title and interest in and to, inter alia, the marks

identified in Exhibit 1 (collectively, the “Mark” or “Marks”). The registrations are valid,

subsisting, unrevoked uncancelled, and incontestable pursuant to 15 U.S.C. § 1065. The

registration for the Mark constitutes prima facie evidence of validity and of Plaintiff’s exclusive

right to use the Mark pursuant to 15 U.S.C. § 1057(b). A genuine and authentic copy of the U.S.

federal trademark registration certificate for marks are attached as Exhibit 1.

        11. Plaintiff’s brand, symbolized by the mark, is a recognized symbol high-quality

products. As detailed below, Plaintiff has been using the mark in connection with the advertising




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and sale of Plaintiff’s Products in interstate and foreign commerce, including commerce in the

State of Illinois and the Northern District of Illinois.

        12. The mark has been widely promoted throughout the United States. Consumers,

potential consumers and other members of the public not only associate Plaintiff’s Products with

exceptional materials, style and workmanship, but also recognize the Plaintiff’s Products sold in

the United States originate exclusively with Plaintiff.

        13. As of the date of this filing, Plaintiff’s Products are sold online and in retail

establishments throughout the world.

        14. Plaintiff maintains quality control standards for all products. Genuine products are

distributed through a network of distributors and retailers, as well as Plaintiff’s online sales, via

webstores such as Amazon.com. Sales of products via the web and legitimate Webstores

represent a significant portion of Plaintiff’s business. The Website features proprietary content,

images and designs exclusive to Plaintiff.

        15. The mark is highly visible and distinctive worldwide symbol of excellence in quality

and uniquely associated with Plaintiff and, as a result, Plaintiff Products bearing the mark have

significant sales.

        16. The mark has never been assigned or licensed to any of the Defendants in this matter.

        17. The mark is a symbol of Plaintiff’s quality, reputation and goodwill and has never

been abandoned.

        18. Further, Plaintiff has expended substantial time, money and other resources

developing, advertising and otherwise promoting the mark.




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        19. Upon information and belief, at all times relevant hereto, Defendants in this action

have had full knowledge of Plaintiff’s ownership of the mark, including its exclusive right to use

and license such intellectual property and the goodwill associated therewith.

        20. In or around March 2020, Plaintiff identified the mark on the Infringing Webstores

and Counterfeit products designed to resemble authorized retail Internet stores selling genuine

products that Defendants had reproduced, displayed and distributed without authorization or

license from Plaintiff in violation of the mark.

        21. Defendants’ use of the mark on or in connection with the advertising, marketing,

distribution, offering for sale and sale of the Counterfeit Products is likely to cause and has

caused confusion, mistake and deception by and among consumers and is irreparably harming

Plaintiff.

        26. Defendants have manufactured, imported, distributed, offered for sale and sold

Counterfeit Products using the marks and continue to do so.

        27. Defendants, without authorization or license from Plaintiff, knowingly and willfully

used and continue to use the mark in connection with the advertisement, offer for sale and sale of

the Counterfeit Products, through, inter alia, the Internet. The Counterfeit Products are not

genuine products. The Plaintiff did not manufacture, inspect or package the Counterfeit Products

and did not approve the Counterfeit Products for sale or distribution. Each Infringing Webstore

offers shipping to the United States, including Illinois, and, on information and belief, each

Defendant has sold Counterfeit Products into the United States, including Illinois.

        28. Defendants falsely advertise the sale of authentic products through the Infringing

webstores, often by stealing and copying Plaintiff’s copyrighted images and photographs of

Plaintiff’s genuine products in violation of the Plaintiff copyrights. Defendants’ Infringing




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Webstore listings appear to unknowing consumers to be legitimate web stores and listings,

authorized to sell genuine products.

          29. Defendants also deceive unknowing consumers by using the mark without

authorization within the content, text, and/or meta tags of the listings on Infringing Webstores in

order to attract various search engines crawling the Internet looking for websites relevant to

consumer searches for products and in consumer product searches within the Webstores.

          30. Defendants go to great lengths to conceal their true identities and often use multiple

fictitious names and addresses to register and operate the Infringing Webstores. Upon

information and belief, Defendants regularly create new Webstores on various platforms using

the identities listed in Schedule “A” to the Complaint, as well as other unknown fictitious names

and addresses. Such registration patterns are one of many common tactics used by the

Defendants to conceal their identities, the full scope and interworking of their illegal

counterfeiting operations, and to prevent the Infringing Webstores from being disabled.

          31. Upon information and belief, Defendants will continue to register or acquire listings

for the purpose of selling Counterfeit Goods that infringe upon the mark unless preliminarily and

permanently enjoined.

          32. Plaintiff has no adequate remedy at law.



                               COUNT ONE
           FEDERAL TRADEMARK COUNTERFEITING AND INFRINGEMENT
                             (15 U.S.C. §1114)


          33. The Plaintiff repeats and realleges the foregoing allegations above as if fully set forth

herein.




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       34. The Plaintiff’s mark and the goodwill of the business associated with it in the United

States and throughout the world are of great and incalculable value. The mark is highly

distinctive and has become universally associated in the public mind with Plaintiffs’ Products

and related services. Consumers associate the Plaintiff’s mark with the Plaintiff as the source of

the very highest quality products.

       35. Without the Plaintiff’s authorization or consent, and having knowledge of the

Plaintiff’s well-known and prior rights in the Plaintiff’s mark and the fact that Defendants’

Counterfeit Products are sold using marks which is identical or confusingly similar to the

Plaintiff’s mark, the Defendants have manufactured, distributed, offered for sale and/or sold the

Counterfeit Products to the consuming public in direct competition with Plaintiff’s sale of

genuine Plaintiff products, in or affecting interstate commerce.

       36. Defendants’ use of copies or approximations of the Plaintiff’s mark in conjunction

with Defendant’s Counterfeit Products is likely to cause and is causing confusion, mistake and

deception among the general purchasing public as to the origin of the Counterfeit Products, and

is likely to deceive the public into believing the Counterfeit Products being sold by Defendants

originate from, are associated with or are otherwise authorized by the Plaintiff, all to the damage

and detriment of the Plaintiff’s reputation, goodwill and sales.

       37. The Plaintiff has no adequate remedy at law and, if Defendants’ activities are not

enjoined, the Plaintiff will continue to suffer irreparable harm and injury to its goodwill and

reputation.



                               COUNT TWO
           UNFAIR COMPETITION AND FALSE DESIGNATION OF ORIGIN
                            (15 U.S.C. §1125(a))




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          38. The Plaintiff repeats and realleges the foregoing allegations above as if fully set forth

herein.

          39. The Counterfeit Products sold and offered for sale by Defendants are of the same

nature and type as the Plaintiff’s products sold and offered for sale by the Plaintiff and, as such,

Defendants’ use is likely to cause confusion to the general purchasing public.

          40. By misappropriating and using the Plaintiff’s marks, genuine product images and

trade names, Defendants misrepresent and falsely describe to the general public the origin and

source of the Counterfeit Products and create a likelihood of confusion by consumers as to the

source of such merchandise.

          41. Defendants’ unlawful, unauthorized and unlicensed manufacture, distribution, offer

for sale and/or sale of the Counterfeit Products creates express and implied misrepresentations

that the Counterfeit Products were created, authorized or approved by the Plaintiff, all to

Defendants’ profit and to the Plaintiff’s great damage and injury.

          42. Defendants’ aforesaid acts are in violation of Section 43(a) of the Lanham Act, 15

U.S.C. § 1125(a), in that Defendants’ use of the Plaintiff’s mark, genuine product images and

trade names, in connection with their goods and services in interstate commerce, constitutes a

false designation of origin and unfair competition.

          48. The Plaintiff has no adequate remedy at law and, if the Defendants’ activities are not

enjoined, Plaintiffs will continue to suffer irreparable harm and injury to their goodwill and

reputation.


                               COUNT THREE
          ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES (815 ILCS 510)




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          49. The Plaintiff repeats and realleges the foregoing allegations above as if fully set forth

herein.

          50. The Counterfeit Products sold and offered for sale by Defendants are of the same

nature and type as the Plaintiff’s products sold and offered for sale by the Plaintiff and, as such,

Defendants’ use is likely to cause confusion to the general purchasing public.

          51. By misappropriating and using the Plaintiff’s mark, genuine product images and trade

names, Defendants misrepresent and falsely describe to the general public the origin and source

of the Counterfeit Products and create a likelihood of confusion by consumers as to the source of

such merchandise.

          52. Defendants’ unlawful, unauthorized and unlicensed manufacture, distribution, offer

for sale and/or sale of the Counterfeit Products creates express and implied misrepresentations

that the Counterfeit Products were created, authorized or approved by the Plaintiff, all to the

Defendants’ profit and to the Plaintiff’s great damage and injury.

          53. Defendants’ aforesaid acts are in violation of the Illinois Uniform Deceptive Trade

Practices Act, 815 ILCS 510/2 et seq., in that Defendants’ use of the Plaintiff’s mark, genuine

product images and trade names, in connection with their goods and services in interstate

commerce, constitutes a false designation of origin and unfair competition.

          54. Plaintiffs have no adequate remedy at law and, if the Defendants’ activities are not

enjoined, the Plaintiff will continue to suffer irreparable harm and injury to its goodwill and

reputation.

                                           Prayer for Relief

          WHEREFORE, the Plaintiff prays for judgment against Defendants in favor of the

Plaintiff on all counts as follows:




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       1. That Defendants, their officers, agents, servants, employees, attorneys, confederates,

and all persons in active concert with them be temporarily, preliminarily and permanently

enjoined and restrained from:

       (i) using the Plaintiff’s marks or any reproduction, counterfeit, copy or colorable

       imitation of the Plaintiff’s mark in connection with the distribution, advertising, offer for

       sale and/or sale of merchandise not the genuine products of the Plaintiff; and

       (ii) passing off, inducing or enabling others to sell or pass off any Counterfeit

       Products as genuine products made and/or sold by the Plaintiff; and

       (iii) committing any acts calculated to cause consumers to believe that Defendants’

       Counterfeit Products are those sold under the authorization, control, or supervision of

       Plaintiff, or are sponsored by, approved by, or otherwise connected with Plaintiff;

       (iv) further infringing the Plaintiff's mark and damaging Plaintiff’s goodwill;

       (v) competing unfairly with Plaintiff in any manner;

       (vi) shipping, delivering, holding for sale, distributing, returning, transferring or

       otherwise moving, storing or disposing of in any manner products or inventory not

       manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or offered for sale,

       and that bear the mark or any reproductions, counterfeit copies, or colorable imitations

       thereof;

       (vii) using, linking to, transferring, selling, exercising control over, or otherwise owning

       or operating the Infringing Webstores, listings, or any other domain name that is being

       used to sell or is the means by which Defendants could continue to sell Counterfeit

       Products;




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       (viii) operating and/or hosting websites at the Infringing Webstores and any other domain

       names registered or operated by Defendants that are involved with the distribution,

       marketing, advertising, offering for sale, or sale of any product bearing the Plaintiff's

       mark or any reproduction, counterfeit copy or colorable imitation thereof that is not a

       genuine product or not authorized by Plaintiff to be sold in connection with the Plaintiff's

       mark; and,

       (ix) registering any additional domain names that use or incorporate any of the Plaintiff's

       marks; and

       2. That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under, or in active concert with them

be temporarily, preliminarily, and permanently enjoined and restrained from:

       (i) displaying images protected by the Plaintiff's Copyright in connection with the

       distribution, advertising, offer for sale and/or sale of any product that is not a genuine

       Plaintiff Product or is not authorized by Plaintiff to be sold in connection with the

       Plaintiff's Copyright; and

       (ii) shipping, delivering, holding for sale, distributing, returning, transferring or otherwise

       moving, storing or disposing of in any manner products or inventory not manufactured by

       or for Plaintiff, nor authorized by Plaintiff to be sold or offered for sale, and protected by

       the Plaintiff's Copyright or any reproductions, counterfeit copies, or colorable imitations

       thereof; and,

       3. That Defendants, within ten days after service of judgment with notice of entry thereof

upon them, be required to file with the Court and serve upon the Plaintiff’s a written report under




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oath setting forth in detail the manner in which Defendants have complied with any and all

injunctive relief ordered by this Court.

       4. Entry of an order that, upon Plaintiff’s request, those in privity with Defendants and

those with notice of the injunction, including any Internet search engines, Webstore hosts or their

administrators that are provided with notice of the injunction, cease facilitating access to any or

all webstores through which Defendants engage in the sale of Counterfeit Products using the

Plaintiff's mark;

       5. That Defendants account for and pay over to Plaintiff any and all profits realized by

Defendants by reason of Defendants’ unlawful acts herein alleged, and that the amount of

damages for infringement of the mark be increased by a sum not exceeding three times the

amount thereof as provided by law as provided by 15 U.S.C. § 1117;

       6. In the alternative, that Plaintiff be awarded statutory damages of One Million Dollars

(U.S.) and No Cents ($1,000,000.00) for each and every use of the Plaintiff's mark counterfeited

by each Defendant;

       7. That Plaintiff be awarded its reasonable attorneys’ fees and costs; and,

       8. Grant Plaintiff such other and further legal relief as may be just and proper.


                                              Respectfully submitted,

                                              By:       s/David Gulbransen/
                                                      David Gulbransen
                                                      Attorney of Record

                                                      David Gulbransen (#6296646)
                                                      Law Office of David Gulbransen
                                                      805 Lake Street, Suite 172
                                                      Oak Park, IL 60302
                                                      (312) 361-0825 p.
                                                      (312) 873-4377 f.
                                                      david@gulbransenlaw.com



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